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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 13CV02877-RPM-BNB

BENJAMINE FURLOW III

       Plaintiff,

v.

UNIVERSITY OF COLORADO HOSPITAL AUTHORITY, UNIVERSITY OF
COLORADO BOARD OF REGENTS, and MATTHEW C. UHLENKOTT, M.D.

       Defendant,



     HOSPITAL AUTHORITY’S AND UNIVERSITY’S MOTION FOR AWARD OF
                          ATTORNEY’S FEES


       Defendants, University of Colorado Hospital Authority and University of Colorado

Board of Regents (Defendants), submit the following Motion for Award of Attorney’s

Fees pursuant to D.C.Colo.LCivR 54.3

       D.C.Colo.LCivR 7.1(a) Certification: Counsel for Defendants conferred in good

faith with Plaintiff’s counsel about this motion. Plaintiff opposes the relief requested in

this motion.

                                    The Applicable Law

       Section 13-17-201 C.R.S. states:

               In all actions brought as a result of a death or an injury to person or
               property occasioned by the tort of any other person, where any
               such action is dismissed on motion of the defendant prior to trial
               under rule 12(b) of the Colorado rules of civil procedure, such
               defendant shall have judgment for his reasonable attorney’s fees in
               defending the action. (emphasis added)
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       In a diversity case involving state law issues, the federal courts should apply

state statutes as necessary to resolve state law claims. Wankier v. Crown Equip. Corp.,

353 F.3d 862, 866 (10th Cir. 2003).

                   Plaintiff’s Complaint and the Order of Dismissal

       Plaintiff’s complaint includes a tort claim and a § 1983 claim against the Hospital

Authority and the University. Pl. Second Am. Compl., ECF No. 6 ¶¶16, 35-38.

       In an order entered April 16, 2014, the court dismissed all claims against the

Hospital Authority and the University pursuant to rule 12(b)(1) and (6).

                               Entitlement to a Fee Award

       Because all of Plaintiff’s tort claims against the Hospital Authority and the

University have been dismissed pursuant to Rule 12(b) an award of attorney fees is

mandatory under §13-17-201 C.R.S.

       The undersigned (“Temple”) is a salaried in-house counsel and works for the

University of Colorado. Temple represented the Hospital Authority and the University in

this case. Because the undersigned is a University employee, these Defendants did not

have to pay for their legal representation. This does not alter their entitlement to an

attorney fee award. The Colorado Court of Appeals has held that “[s]alaried and public

interest attorneys should be awarded attorney fees based on the prevailing market rate

rather than a ‘cost-plus’ approach focusing on the attorney’s salary.” Balkind v.

Telluride Mountain Title Co., 8 P.3d 581, 588 (Colo. App. 2000). See also City of

Wheatridge v. Cerveny, 913 P.2d 1110, 1117 (Colo. 1996).




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                                      Hourly Rate

       These Defendants request an award of attorney fees based on $275.00 per hour

for Temple’s time.

       Temple has been licensed to practice in Colorado since 1983. Temple’s rate is

based on his 30 years of practice in the Denver legal community and the market rate of

attorneys of comparable skill in the Denver metropolitan area in similar cases.

       Temple’s most recent attorney fee award was on February 22, 2013 in Profita v.

School of Medicine, Case No. 12CV955, in the Adams County District Court wherein

Judge Moss awarded fees to a University employee based on Temple’s work at $275

per hour. (Affidavit of David P. Temple, ¶ 2, Exhibit A hereto).

       Temple has worked in the Office of University Counsel for 16 years. He is the

lead attorney in the litigation department. Prior to his employment at the University,

Temple worked in the Colorado Attorney General’s office for eleven years. In this

capacity he represented several higher education clients as well as the state medicaid

program. All of this work was litigation. Following law school Temple worked as an

associate attorney at the law firm of Ireland, Stapleton, Pryor and Pascoe for four years

in the commercial litigation department.

       Temple has litigated numerous attorney fee motions over the last 30 years.

During this time, he has become familiar with the hourly rates charged by litigation

attorneys in the Denver metropolitan area. (Exhibit A, ¶ 2). See also Exhibit B, a

2008 Colorado Bar Association (“CBA”) survey report which shows an average rate of

$268 per hour for Denver attorneys. Based on Temple’s affidavit, the attached CBA


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report, as well as the above referenced court order which held that $275.00 per hour

was reasonable last year for Temple’s time, these Defendants request an award based

on an hourly rate of $275.00 for Temple’s work.

                                 Computation of Hours

       The Time-Billing Summary, attached as Exhibit C, sets forth the hours worked

by Temple, as well as a description of the activities performed.

       Temple’s affidavit explains that billing judgment has been exercised in presenting

this motion in the following ways: (1) approximately 2.5 hours of time spent by a

research associate in the Office of University Counsel has not been included to avoid

any possible duplication of services; (2) none of the legal assistant time, 11.5 hours, (e-

filings, document collection and organization) are being billed for; (3) none of the

interoffice conferences between Temple and other attorneys in the Office of University

Counsel bill for the second attorney’s time; (4) because Temple represented both the

Hospital Authority and the University—this motion separates the work done solely for

the Hospital Authority; and that done solely for the University—and then divides the

remaining work done for both clients equally; and (5) the gross time is further reduced to

reflect appropriate hours which would not be billed to a client for the work done. In total,

approximately 24 hours of attorney time has not been billed for. See Ramos v. Lamm,

713 F.2d 546, 553 (10th Cir. 1983) citing Copeland v. Marshall, 641, E.2d 880, 891 (D.C.

Cir. 1980) (en banc) (“Hours that are not properly billed to one’s client also are not

properly billed to one’s adversary.”) Following these adjustments the total hours for

Temple is 50.25. At $275.00 per hour, the total amount requested for attorney fees is


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$13,818.75; with the Hospital Authority’s amount being $6,084.38 and the University’s

amount being $7,734.37.

      WHEREFORE, for the reasons set forth above the Hospital Authority requests an

award of attorney’s fees in the amount of $6,084.38; and the University requests an

attorney fee award in the amount of $7,734.37.

      DATED this 25th day of April, 2014.

                                        Respectfully Submitted,

                                        s/ David P. Temple_____________________
                                        David P. Temple
                                        University of Colorado, Office of University
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                                        David.Temple@cu.edu
                                        Attorney for Defendant - University




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                              CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2014, I electronically filed the foregoing pleading

with the Clerk of Court using the CM/ECF system which will send notification of such

filing to the following email addresses:

Andrew T. Brake, Esq,
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                                            s/ Jamie Joyce___________
                                             Jamie Joyce, Legal Assistant




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